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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

IN RE:                                                    |
                                                          |
KEVIN WAYNE ROGERS &                                      |       CHAPTER 7
VALERIE CINNAMON ROGERS,                                  |
                                                          |
         DEBTORS                                          |       CASE NO. 19-51354-BEM
--------------------------------------------------------- | ------------------------------------------------------
                                                          |
KEVIN WAYNE ROGERS &                                      |       CONTESTED MATTER
VALERIE CINNAMON ROGERS,                                  |
                                                          |
         MOVANTS,                                         |
                                                          |
VS.                                                       |
                                                          |
ASSOCIATED CREDIT UNION,                                  |
                                                          |
         RESPONDENT.                                      |
__________________________________________|

                    NOTICE OF MOTION TO REDEEM 2015 KIA OPTIMA

         NOTICE IS HEREBY GIVEN to all parties in interest that Debtors have filed a Motion
to Redeem a 2015 Kia Optima. The secured claim of Associated Credit Union should not be
more than $9,275.00.


         A copy of the Motion is attached hereto and is available for review in the Clerk’s Office,
United States Bankruptcy Court, 1340 Russell Federal Building, 75 Ted Turner Dr. SW, Atlanta,
Georgia during normal business hours. Any person objecting to the Motion to Redeem shall file
a written objection, stating the grounds therefore, no later than twenty – four (24) days from the
date of this Notice with the Clerk of the Court, United States Bankruptcy Court, 1340 Russell
Federal Building, 75 Ted Turner Dr. SW, Atlanta, Georgia, 30303 and shall serve a copy upon
counsel for the Debtor, Christopher J. Sleeper, Jeff Field & Associates, 342 North Clarendon
Avenue, Scottdale, Georgia 30079.
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       Any objection not timely filed and served is deemed waived. If no objection is filed as
set forth above, an Order will be issued allowing the redemption.


       If an objection is timely filed, a hearing will be set in accordance with said objection.

       Dated: February 15, 2019
                                              Respectfully submitted,
                                              JEFF FIELD & ASSOCIATES

                                              /s/ Christopher J. Sleeper
                                              ____________________________________
                                              CHRISTOPHER J. SLEEPER
                                              Attorney for Debtors
                                              State Bar No. 700884

342 North Clarendon Avenue
Scottdale, GA 30079
404-499-2700
contactus@fieldlawoffice.com
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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

IN RE:                                                    |
                                                          |
KEVIN WAYNE ROGERS &                                      |       CHAPTER 7
VALERIE CINNAMON ROGERS,                                  |
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         DEBTORS                                          |       CASE NO. 19-51354-BEM
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KEVIN WAYNE ROGERS &                                      |       CONTESTED MATTER
VALERIE CINNAMON ROGERS,                                  |
                                                          |
         MOVANTS,                                         |
                                                          |
VS.                                                       |
                                                          |
ASSOCIATED CREDIT UNION,                                  |
                                                          |
         RESPONDENT.                                      |
__________________________________________|

                             MOTION TO REDEEM 2015 KIA OPTIMA

         Come now the above Debtors, Kevin Wayne Rogers and Valerie Cinnamon Rogers, by

and through counsel, pursuant to 11 U.S.C. Section 722 and Bankruptcy Rule 6008, and files this

Motion to Redeem and shows to the Court the following:

                                                        1.

         The 2015 Kia Optima is tangible, personal property intended primarily for personal,

family or household use.

                                                        2.

         The interest of the Debtors in said property is exempt or has been abandoned by the

Interim Chapter 7 Trustee.          Moreover, any claim by Associated Credit Union (hereinafter

“Respondent”) in excess of its allowed secured claim is a dischargeable consumer debt.
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                                                3.

       For purposes of this Motion, the allowed secured claim of Respondent should be

determined to be not more than $9,275.00.

                                                4.

       Upon an Order of the Court allowing said redemption, if applicable, Debtors shall tender

to Respondent a one-time payment within thirty (30) days of the entry of such Order.

                                                5.

       The payment for this proposed redemption is to be financed through Prizm Financial Co.

LLC, with all of the particulars of that financing (interest rate, finance charge, amount financed,

total of payments, amount of payments, etc.) set forth in full detail in the attachment(s) hereto.

As demonstrated there, the monthly amount, term of the payments and the overall amount of the

repayment will be decreased significantly through the proposed redemption. Moreover, the

Debtors have agreed to borrow and disperse additional funds in the amount of $500.00 from their

loan with Prizm Financial Co. LLC, for representation of the debtors in securing for the benefit

of the debtors an order granting the debtors the right to redeem under 11 U.S.C. 722 a certain

motor vehicle, such compensation being in addition to that previously disclosed and being for

services rendered beyond the scope of the legal services to have been rendered for such

compensation heretofore disclosed.

       WHEREFORE, Debtors requests that this Motion be granted to allow the aforesaid

redemption and direct that the parties perform all reasonable and necessary acts to affect a

release of any lien on said property. In the event the Motion is contested, Debtors respectfully

request that this Court determine the value or the allowed secured claim of said property at the

time of any hearing and for such other relief as this Court may deem appropriate.
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Dated: February 15, 2019

                                        Respectfully submitted,
                                        JEFF FIELD & ASSOCIATES

                                        /s/ Christopher J. Sleeper
                                        ____________________________________
                                        CHRISTOPHER J. SLEEPER
                                        Attorney for Debtors
                                        State Bar No. 700884

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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a true and exact copy of the foregoing
“Notice” and “Motion” to the following:

William J. Layng, Jr., Trustee              Electronic Service

Office of the U.S. Trustee                  Electronic Service
362 Russell Federal Building
75 Spring Street, SW
Atlanta, Georgia 30303

Kevin Wayne Rogers
Valerie Cinnamon Rogers
2392 Range Heights Terrace
Loganville, GA 30052

Associated Credit Union
Attn: Timothy Bridges, CFO and Registered Agent
6251 Crooked Creek Road
Po Box 923028
Norcross GA 30010
Via Certified Mail

by placing a copy of same in a properly addressed envelope with sufficient postage affixed
thereon to insure delivery and depositing same in the United States Mail.

       Dated: February 15, 2019

                                                Respectfully Submitted,
                                                JEFF FIELD & ASSOCIATES

                                                /s/ Christopher J. Sleeper
                                                ____________________________________
                                                CHRISTOPHER J. SLEEPER
                                                Attorney for Debtor
                                                State Bar No. 700884
342 North Clarendon Avenue
Scottdale, GA 30079
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